        Case 3:17-cv-00072-NKM-JCH Document 38 Filed 10/19/17 Page 1 of 2 Pageid#: 174

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                     for the
                                                        Western District
                                                     __________ District of
                                                                         of Virginia
                                                                            __________

ELIZABETH SINES, SETH WISPELWEY, MARISSA                               )
 BLAIR, TYLER MAGILL, APRIL MUNIZ, HANNAH                              )
 PEARCE, MARCUS MARTIN, JOHN DOE, JANE                                 )
     DOE 1, JANE DOE 2, and JANE DOE 3                                 )
                            Plaintiff(s)                               )
                                                                       )
                                v.                                             Civil Action No. 3:17-cv-00072-NKM
                                                                       )
      JASON KESSLER, RICHARD SPENCER,                                  )
     CHRISTOPHER CANTWELL, JAMES ALEX                                  )
   FIELDS, JR., VANGUARD AMERICA, ANDREW                               )
    ANGLIN, MOONBASE HOLDINGS, LLC, et al.                             )
                           Defendant(s)                                )

                                                     SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Vanguard America
                                           c/o Dillon Ulysses Hopper a/k/a Dillon Irizarry
                                           5124 Criterion Way
                                           Dublin, OH 43016




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Robert T. Cahill, Esq., Cooley LLP
                                           11951 Freedom Drive, 14th Floor
                                           Reston, VA 20190
                                           Tel: (703) 456-8000 - Email: rcahill@cooley.com
                                           Co-Counsel for Plaintiffs


       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                                  CLERK OF COURT


Date:
                                                                                             Signature of Clerk or Deputy Clerk
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 Civil Action No. 3:17-cv-00072-NKM

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           u I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           u I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           u I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           u I returned the summons unexecuted because                                                                              ; or

           u Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:
